                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


HUMANS & RESOURCES, LLC,         :
d/b/a CADENCE RESTAURANT,        :    CIVIL ACTION
                                 :
           Plaintiff             :
                                 :    NO. 20-CV-2152
     vs.                         :
                                 :
FIRSTLINE NATIONAL INSURANCE     :
COMPANY,                         :
                                 :
           Defendant             :



                               O R D E R


     AND NOW, this     8th      day of January, 2021, upon

consideration of Defendant's Motion to Dismiss Plaintiff's

Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) (Doc. No.

17), it is hereby ORDERED that the Motion is DENIED for the

reasons outlined in the attached Memorandum Opinion.


                                          BY THE COURT:


                                          s/ J. Curtis Joyner


                                          ___________________________
                                          J. CURTIS JOYNER,      J.




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